           Case 5:06-cv-04596-JW Document 115 Filed 06/13/07 Page 1 of 3


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 1   [Counsel List on Signature Page]                                                       TA




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                                              SAN JOSE DIVISION                                           R
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 6   INTERTRUST TECHNOLOGIES                               CASE NO. C06-04596 JW
     CORPORATION,
 7                                                         (consolidated with Case Nos. C06-04660 and
                             Plaintiff,                    C06-04659)
 8
                     v.                                    STIPULATED NOTICE OF DISMISSAL
 9
     MACROVISION CORPORATION,
10
                             Defendant.
11
     MACROVISION CORPORATION,
12
                             Counter-Plaintiff,
13
                     v.
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     INTERTRUST TECHNOLOGIES
15   CORPORATION,

16                           Counter-Defendant.

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                                       STIPULATED NOTICE OF DISMISSAL
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19           Plaintiff and Counter-Defendant Intertrust Technologies Corporation (“Intertrust”) and

20   Defendant and Counter-Plaintiff Macrovision Corporation (“Macrovision”), through their respective

21   counsel, stipulate and request that this Court enter an order dismissing all claims and counterclaims

22   in these three consolidated cases with prejudice pursuant to Federal Rules of Civil Procedure 41(a).

23   The parties have entered into a settlement agreement which fully resolves all claims and

24   counterclaims raised in this action. Each party agrees to bear its own attorneys’ fees and costs.

25           By her signature below, counsel for Intertrust attests that counsel for Macrovision concurs in

26   the filing of this stipulation.

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                                                                              STIPULATED NOTICE OF DISMISSAL
                                                                                        (CASE NO. C06-04596 JW)
         Case 5:06-cv-04596-JW Document 115 Filed 06/13/07 Page 2 of 3



 1   DATED: June 12, 2007           FINNEGAN, HENDERSON, FARABOW, GARRETT
                                    & DUNNER, LLP
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 3
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                                            2                             (CASE NO. C06-04596 JW)
         Case 5:06-cv-04596-JW Document 115 Filed 06/13/07 Page 3 of 3



 1   DATED: June 12, 2007                OBLON, SPIVAK, MCCLELLAND, MAIER &
                                         NEUSTADT, P.C.
 2

 3
                                          By           /s/
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                                            Attorneys for Defendant and Counter-Plaintiff
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19

20                                  [PROPOSED] ORDER

21         PURSUANT TO STIPULATION, IT IS SO ORDERED

22
              June 13, 2007
23   Dated: __________________________     ____________________________________________

24                                         James Ware
                                           United States District Judge
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                                                                     STIPULATED NOTICE OF DISMISSAL
                                                3                              (CASE NO. C06-04596 JW)
